        Case 3:16-cr-00009-LRH-WGC Document 97 Filed 11/05/20 Page 1 of 3




 1
 2
 3
 4
 5
 6
 7
 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
11
     UNITED STATES OF AMERICA,                           Case No. 3:16-cr-00009-LRH-WGC
12
                   Plaintiff,
13                                                       ORDER RE:
            v.                                           STIPULATION TO CONTINUE
14                                                       REVOCATION HEARING
     RAFAEL ALFONSO MEDINA,
15                                                       (SECOND REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and CHRISTOPHER P. FREY, Assistant Federal

20   Public Defender, counsel for RAFAEL ALFONSO MEDINA and NICHOLAS A.
21   TRUTANICH, United States Attorney, and PENELOPE BRADY, Assistant United States
22
     Attorney, counsel for the UNITED STATES OF AMERICA, that the Revocation of Supervised
23
     Release hearing set for November 10, 2020, at 11:00 AM, be vacated and continued to February
24
25   2, 2021, at 1:30 PM.

26          ///
        Case 3:16-cr-00009-LRH-WGC Document 97 Filed 11/05/20 Page 2 of 3




 1           This Stipulation is entered into for the following reasons:
 2           Mr. Medina is scheduled to appear before this court for a Revocation Hearing on
 3
     November 10, 2020, at 11:00 AM. Undersigned counsel request that this matter be continued
 4
     to February 2, 2021, at 1:30 PM, to allow the parties to continue negotiations toward a resolution
 5
 6   of this matter.

 7           1.        Failure to grant this extension of time would deprive the defendant continuity
 8   of counsel and the effective assistance of counsel.
 9           2.        Mr. Medina is currently on bond.
10           3.        The parties agree to the continuance.
11           4.        This is the second request for a continuance.
12           DATED this 5th day of November, 2020.
13
         RENE L. VALLADARES                                 NICHOLAS A. TRUTANICH
14       Federal Public Defender                            United States Attorney

15
      By /s/ Christopher P. Frey                     . By       /s/ Penelope Brady              .
16       CHRISTOPHER P. FREY                                   PENELOPE BRADY
         Assistant Federal Public Defender                     Assistant United States Attorney
17       Counsel for                                           Counsel for the Government
         RAFAEL ALFONSO MEDINA
18
19
20
21
22
23
24
25
26
                                                        2
        Case 3:16-cr-00009-LRH-WGC Document 97 Filed 11/05/20 Page 3 of 3




 1                                            ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
 3          IT IS THEREFORE ORDERED that the Revocation Hearing currently set for
 4
     November 10, 2020, at 11:00 AM, be vacated and continued to February 2, 2021, at 1:30 PM.
 5
 6
                                                          This is good LRH signature




            DATED this 5th day of November, 2020.
 7
 8
 9
                                                       _________________________________
10
                                                       UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                   3
